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The following constitutes the ruling of the court and has the force and effect therein described.


Signed April 18, 2022
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________



BTXN 060 (rev. 10/19)
                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS

In Re:                                                 §
Angelica Benet Williams                                §     Case No.: 22−40514−mxm7
                                                       §     Chapter No.: 7
                                      Debtor(s)        §

                                         ORDER DISMISSING CASE

The Debtor(s), having been given notice that this case would be dismissed upon the failure to timely file:

             Pay the required filing fee in installments as directed in the Order regarding the
             Application to Pay Filing Fee in Installments, or Order denying/revoking the
             Application for Waiver of the Chapter 7 Filing Fee.
             List of creditors required to be filed with the petition by N.D.TX L.B.R. 1007−1(a)
             within 48 hours from the issuance of the Notice of Deficiency
             Schedules pursuant to Fed. R. Bankr. P. 1007(c) within 14 days of the filing of the
             Petition
             Declaration About an Individual Debtor's Schedules (Official Form 106Dec) within 14
             days of the date of the filing of the petition.
             Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202)
             within 14 days of the date of the filing of the petition.
             Statement of Financial Affairs pursuant to Fed. R. Bankr. P. 1007(c) within 14 days of
             the filing of the Petition
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                                             page 2
        Plan/Plan Summary pursuant to Fed. R. Bankr. P. 3015 within 14 days of the filing of
        the Petition
        List of twenty largest unsecured creditors within 48 hours of the date of the filing of
        the Petition
        Social Security/Tax ID number within 48 hours from the issuance of the Notice of
        Deficiency
        Form 121 within 48 hours of the date of the Petition
        Summary of Assets and Liabilities (Official Form 106Sum/206Sum) within 14 days of
        the date of the filing of the Petition
        A complete original petition was not filed within 3 days from the issuance of the
        Notice of Deficiency
        Certificate of completion from an approved credit counseling course completed within
        180 days of the date of the filing of the Petition
        Copies of employee income records within 14 days of the date of the filing of the
        Petition
        Statement of Current Monthly Income within 14 days of the date of the filing of the
        Petition
        Chapter 15 Service List within 14 days of the date of the filing of the Petition
        Cash Flow Statement within 7 days of the date of the filing of the Petition
        Balance Sheet within 7 days of the date of the filing of the Petition
        Statement of Operations within 7 days of the date of the filing of the Petition
     All required documents pursuant to 11 U.S.C. § 521 within 45 days of the filing of the
     Petition
     Other: Certificate of completion from an approved credit counseling course completed
     by April 9, 2022 per order
ORDERED that this case is DISMISSED; and it is further
ORDERED that this Order shall not be deemed a bar to refiling under 11 U.S.C. §109(g).

                                     # # # End of Order # # #
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
In re:                                                                                                                 Case No. 22-40514-mxm
Angelica Benet Williams                                                                                                Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-4                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Apr 18, 2022                                               Form ID: pdf022                                                           Total Noticed: 40
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 20, 2022:
Recip ID                 Recipient Name and Address
db                     + Angelica Benet Williams, 12650 N. Beach St., Suite 114-991, Keller, TX 76244-4243
19625865              #+ Atmos energy, 100 W Morningside Dr, Fort Worth, TX 76110-2795
19625849               + Carmax, 12800 Tuckahoe Creek Pkwy, Richmond, VA 23238-1124
19625866                 City of Fort Worth water, P.O. Box 961003, Fort Worth, TX 76161-0003
19625872               + Cleo ai inc, 594 BROADWAY, SUITE 701, New York City 10012-3257
19625876               + Dave, 1265 S Cochran Ave,, Los Angeles, CA 90019-2846
19625877                 Dept of Education/ Fed loan servicing, P.O. Box 790234,, St. Louis, MO 63179-0234
19625858               + Fig tech inc/Fig loans, 335 MADISON AVENUE 16THFLOOR, NEW YORK NY 10017-4675
19625875               + Four INC, 16855 NE 2nd Ave, Miami, Florida 33162-1744
19625878                 Iwg debt collections, Dammstrasse 19 Zug,, CH-6300 Switzerland
19625856               + LOQBOX FINANCE US LLC, 36 Maplewood, Portsmouth, New Hampshire 03801-3712
19625855               + Lobel Finance, 2080 N Hwy 360, Grand Prairie, TX 75050-1451
19625854               + MCMC Auto, 1919 E Lancaster Ave, Fort Worth, TX 76103-2114
19625852               + NTPM, 3415 Custer Rd #122, Plano, TX 75023-7555
19625869               + Nationwide capital servicing, 284C E. Lake Mead Parkway, Henderson, NV 89015-6433
19625879               + Regus, 9800 Hillwood Pkwy Suite 140,, Fort Worth, TX 76177-1532
19625867               + Rent recovery solutions, 1945 The Exchange SE,, Atlanta, GA 30339-2057
19625882               + Southwest recovery systems, 2626 Cole Ave Suite 364, Dallas, TX 75204-1094
19625862               + Sunrise bank/ self-lender, 109 E Church Street, Suite 100, Orlando, FL 32801-3326
19625883               + Sunrise la, 5545 Cameron St, Scott, LA 70583-5201
19625851               + University of north Texas at Denton, 1155 Union Cir, Denton, TX 76203-5017

TOTAL: 21

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
19625874                  Email/Text: bankruptcynotices@afterpay.com
                                                                                        Apr 18 2022 21:11:00      Afterpay, 222 Kearny St #600, San Francisco CA
                                                                                                                  94016
19625887               + Email/Text: bankruptcynotices@aarons.com
                                                                                        Apr 18 2022 21:12:00      Aarons rental, 6246 Rufe Snow Dr Ste B,, North
                                                                                                                  Richland Hills, TX 76148-3365
19625873                  Email/Text: bankruptcy@acimacredit.com
                                                                                        Apr 18 2022 21:12:00      Acima, PO Box 1667, Draper, UT 84020-1667
19625871                  Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Apr 18 2022 21:17:56      Capital one, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
19625884               + Email/Text: bnc-bluestem@quantum3group.com
                                                                                        Apr 18 2022 21:12:00      Fingerhut/webank, 6250 Ridgewood Rd., St.
                                                                                                                  Cloud, MN 56303-0820
19625870                  Email/Text: help@trygrain.com
                                                                                        Apr 18 2022 21:11:00      Grain technology, 505 14th Street, Suite 900,
                                                                                                                  Oakland, CA 94612
19625868                  Email/Text: Bankruptcy@ICSystem.com
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District/off: 0539-4                                               User: admin                                                            Page 2 of 3
Date Rcvd: Apr 18, 2022                                            Form ID: pdf022                                                      Total Noticed: 40
                                                                                   Apr 18 2022 21:12:00     IC systems, Headquarters 444 Highway 96 E,
                                                                                                            Saint Paul, MN 55127-2557
19625881              + Email/Text: bankruptcy@kikoff.com
                                                                                   Apr 18 2022 21:11:00     Kikoff lending, 75 BROADWAY, SUITE 226,
                                                                                                            SAN FRANCISCO 94111-1458
19625853              + Email/Text: bankruptcy@ntta.org
                                                                                   Apr 18 2022 21:12:00     NTTA, P.O. Box 660244, Dallas, TX 75266-0244
19625859              + Email/Text: NCU.Special.Services@myncu.com
                                                                                   Apr 18 2022 21:12:00     Neighborhood credit union, 13651 Montfort Drive,
                                                                                                            Dallas, TX 75240-2554
19625860                 Email/Text: bankruptcy@possiblefinance.com
                                                                                   Apr 18 2022 21:11:00     Possible finance, 2231 1st Avenue #B,, Seattle
                                                                                                            WA, 98121
19625888              + Email/Text: bankruptcy@rentacenter.com
                                                                                   Apr 18 2022 21:12:00     Rent a center, Attn: Customer Service, 5501
                                                                                                            Headquarters Dr., Plano, TX 75024-5845
19625886                 Email/Text: bankruptcy@snapfinance.com
                                                                                   Apr 18 2022 21:11:00     Snap finance, PO Box 26561, Salt Lake City, UT
                                                                                                            84126
19625850                 Email/PDF: ais.sprint.ebn@aisinfo.com
                                                                                   Apr 18 2022 21:17:52     Sprint, PO Box 4191, Carol Stream, IL 60197-419
19625880              + Email/Text: bankruptcy@speedyinc.com
                                                                                   Apr 18 2022 21:11:00     Speedycash, P.O. Box 780408, Wichita, KS
                                                                                                            67278-0408
19625864                 Email/Text: txulec09@vistraenergy.com
                                                                                   Apr 18 2022 21:12:00     txu energy, PO Box 650700, Dallas, TX
                                                                                                            75265-0700
19625857              + Email/PDF: bk@worldacceptance.com
                                                                                   Apr 18 2022 21:17:52     WORLD FINANCE CORPORATION, PO Box
                                                                                                            6429, Greenville, SC 29606-6429
19625863              + Email/Text: bnc-bluestem@quantum3group.com
                                                                                   Apr 18 2022 21:12:00     Webank/fresh start, 6250 Ridgewood Rd., St.
                                                                                                            Cloud, MN 56303-0820
19625861              + Email/PDF: bk@worldacceptance.com
                                                                                   Apr 18 2022 21:17:52     World finance incorporated, 528 S Saginaw Blvd,,
                                                                                                            Saginaw, TX 76179-1906

TOTAL: 19


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
19625885        ##+           Fergus capital lle, 106 Allen Road, Bernards Township, NJ 07920-3851

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 20, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 18, 2022 at the address(es) listed below:
Name                             Email Address
         Case 22-40514-mxm7 Doc 21 Filed 04/20/22                        Entered 04/20/22 23:13:08   Page 5 of 5
District/off: 0539-4                                      User: admin                                      Page 3 of 3
Date Rcvd: Apr 18, 2022                                   Form ID: pdf022                                Total Noticed: 40
Roddrick Breon Newhouse
                          rn7trustee@gmail.com rbn@trustesolutions.net

United States Trustee
                          ustpregion06.da.ecf@usdoj.gov


TOTAL: 2
